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            IN THE UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF VIRGINIA

                          Alexandria Division


BRIAN C. DAVISON,                    )
                                     )
      Plaintiff,                     )
                                     )
            v.                       )     1:16cv932 (JCC/IDD)
                                     )
LOUDOUN COUNTY BOARD OF              )
SUPERVISORS, et al.,                 )
                                     )
      Defendants.                    )

                   M E M O R A N D U M     O P I N I O N

            This matter is before the Court on Defendants’ Motion

to Dismiss [Dkt. 3].      For the reasons that follow, the Court

will deny Defendants’ Motion with respect to Plaintiff’s First

Amendment and Due Process claims against Defendant Board of

Supervisors of Loudoun County, and will grant the Motion in all

other respects.

                              I. Background

            The following allegations of fact set forth in

Plaintiff’s Complaint are taken as true for purposes of the

present Motion.     See E.I. du Pont de Nemours & Co. v. Kolon

Indus., Inc., 637 F.3d 435, 440 (4th Cir. 2011).

            Defendant Loudoun County Board of Supervisors (“the

Board”) is Loudoun County, Virginia’s local governing body.

Compl. [Dkt. 1] ¶ 2.      On July 15, 2016, the Board’s standing
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Transportation and Land Use Committee held a public meeting.

Id. ¶ 8.    Present at that meeting were Defendants Phyllis

Randall, Ron Meyer, and Geary Higgins — each a “supervisor in

the Defendant Loudoun County [Board of Supervisors].”           Id.

¶¶ 4,6-8.    Defendant Tony Buffington, also a supervisor elected

to the Board, see id. ¶ 5, did not attend the meeting.            See id.

¶ 8.1

            Notwithstanding his absence, Defendant Buffington

began sending text messages to Defendants Randall, Meyer, and

Higgins during the meeting.       See id. ¶¶ 9-10.     These messages

urged the Board members present to vote against a specific land

use application under discussion.        See id.

            Approximately 40 minutes after Defendant Buffington

began sending text messages to his colleagues, counsel for the

land use applicant inquired whether Defendant Buffington was

participating in the meeting via text message.          Id. ¶ 11.     The

applicant’s counsel argued that this would violate Virginia’s

Freedom of Information Act, Va. Code § 2.2-3700, et seq.            Compl.

[Dkt. 1] ¶ 11.     Defendants Randall, Meyer, and Higgins admitted

to receiving text messages from Defendant Buffington and read

the messages into the record.       Id. ¶ 12.



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          Two other members of the Board — supervisors Suzanne
Volpe and Kristen Umstattd — were present at the meeting but
have not been named in this suit. See id. ¶ 8.
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            On July 19, 2016, a post appeared on the official

Facebook page of the Loudoun County Government.          Id. ¶ 13.    The

post read: “#Loudoun County Attorney Leo Rogers has determined

that text messages sent and receive [sic] during a Board of

Supervisors committee meeting did not violate the Virginia

Freedom of Information Act.”       Id.; see also Compl. Exh. 3 [Dkt.

1-3].   The post included a link to a press release stating as

much hosted “on the Loudoun County government’s website.”

Compl. [Dkt. 1] ¶ 13.

            Plaintiff Brian C. Davison is a resident of Loudoun

County, Virginia, who takes “an interest in rules of ethics for

public officials.”     Id. ¶ 1.    Shortly after the post appeared,

Plaintiff commented on it using the screen name “Virginia SGP.”

Id. ¶ 14.    Plaintiff’s comment “related to the alleged FOIA

violation.”    Id.   It appears that Plaintiff’s comment was

critical of the Board, although the comment is not part of the

record now before the Court.

            Plaintiff’s comment was “quickly hidden” by someone

operating the Board’s Facebook page.        Id. ¶ 15.    One attempting

to view the comment would therefore be able to see that someone

had commented on the original post, but would not be able to

read the comment itself.      See id.

            Upon discovering that his initial comment had

disappeared, Plaintiff commented again noting that the

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censorship of his previous comment implicated his First

Amendment and Due Process rights.          See id. ¶ 16; see also Compl.

Exh. 3 [Dkt. 1-3].     Plaintiff’s second comment was also “hidden

and/or deleted” within minutes.          Compl. [Dkt. 1] ¶ 17.

            This prompted a third comment in which Plaintiff again

invoked his constitutional rights, referenced a lawsuit he had

filed based upon similar circumstances, see Davison v. Plowman,

__ F. Supp. 3d. __, No. 1:16-CV-0180, 2016 WL 3167394 (E.D. Va.

June 6, 2016), and levied allegations of corruption at the

Board.   See Compl. Exh. 7 [Dkt. 1-7].         Plaintiff then captured

an image of this third comment and posted it along with a fourth

comment referencing the possibility of legal action against the

Board.   See Compl. [Dkt. 1] ¶ 19; Compl. Exh. 8 [Dkt. 1-8].

Within hours, Plaintiff discovered that his fourth comment had

been “deleted and/or hidden” as well. See Compl. [Dkt. 1] ¶ 19.

            Plaintiff emailed the Board — including each

individual Defendant supervisor — to report what had happened

and ask that his comments be restored.          See id. ¶ 19; Compl.

Exhs. 14-18 [Dkt. 1-14, 1-15, 1-16, 1-17, 1-18].           Plaintiff

received no substantive response.          See Compl. [Dkt. 1] ¶¶ 24-26.

            On July 20, 2016, Plaintiff filed suit pro se against

the Board and individual Board members Randall, Buffington,

Meyer, and Higgins.     Plaintiff also named as a defendant Leo

Rogers, county attorney to the Board, who Plaintiff alleges is

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“responsible for . . . providing opinions and/or policy on

Loudoun County’s social media policy.”         Id. ¶ 3.    Plaintiff

alleges that Defendants violated his First and Fourteenth

Amendment rights to free speech, due process, and equal

protection, as well as the Virginia Freedom of Information Act.

            Defendants now move to dismiss this case pursuant to

Federal Rules of Civil Procedure 12(b)(1), (b)(6) and (d).

                           II. Legal Standard

            As an initial matter, the Court notes that Defendants’

pleadings fail to distinguish between Federal Rules of Civil

Procedure 12(b)(1) and 12(b)(6).         Indeed, Defendants go so far

as to reference “Fed. R. Civ. P. 12(b)(1)(6)” in the titles and

introductory paragraphs of their pleadings. Defendants cite the

rules interchangeably throughout their Motion and supporting

Memorandum. It therefore falls to the Court to determine the

proper standard under which to evaluate Defendants’ Motion.

            Defendants challenge the legal sufficiency of

Plaintiff’s claims, not the Court’s power to hear them.            Such

arguments are only properly evaluated under Rule 12(b)(1) when a

movant contends that the plaintiff’s claims are (1) brought

solely for the purpose of obtaining federal jurisdiction over

state law claims or (2) wholly insubstantial.          See Holloway v.

Pagan River Dockside Seafood, Inc., 669 F.3d 448, 452-53 (4th

Cir. 2012).    Defendants do not clearly advance either position.

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Defendants’ Motion is therefore properly addressed under Rule

12(b)(6).2

             In reviewing a motion to dismiss for failure to state

a claim under Rule 12(b)(6), the Court “must accept as true all

of the factual allegations contained in the complaint,” drawing

“all reasonable inferences” in the plaintiff’s favor.             E.I. du

Pont de Nemours & Co., 637 F.3d at 440 (citations omitted).

Generally, the Court may not look beyond the four corners of the

complaint in evaluating a Rule 12(b)(6) motion.          See Goldfarb v.

Mayor & City Council of Baltimore, 791 F.3d 500, 508 (4th Cir.

2015).   “A court has wide discretion to exclude matters outside

of the pleadings” in evaluating such a motion.          Norfolk Fed’n of

Bus. Districts v. Dep’t of Hous. & Urban Dev., 932 F. Supp. 730,

736 (E.D. Va.), aff’d sub nom. Norfolk Fed’n of Bus. Districts

v. City of Norfolk, 103 F.3d 119 (4th Cir. 1996).           If, however,

a defendant proffers evidence beyond the complaint, the Court

may treat the filing as a motion for summary judgment under

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          To the extent Defendants ask that the Court address
their Motion under Rule 12(b)(1) so as to look beyond the
Complaint to “jurisdictional” facts, see Mem. in Supp. of Mot.
to Dismiss [Dkt. 4] at 8, the Court finds that it would not be
appropriate to do so at this stage of the proceedings. See 24th
Senatorial Dist. Republican Comm. v. Alcorn, 820 F.3d 624, 629
(4th Cir. 2016) (“If . . . the jurisdictional facts are
intertwined with the facts central to the merits of the
complaint, ‘a presumption of truthfulness should attach to the
plaintiff's allegations’ . . . [a]nd ‘the court should resolve
the relevant factual disputes only after appropriate
discovery.’”) (quoting Rich v. United States, 811 F.3d 140, 145
(4th Cir.2015)).
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Federal Rules of Civil Procedure (12)(d) and 56.           See Goldfarb,

791 F.3d at 508.

            In evaluating Defendants’ Motion, the Court is mindful

that Plaintiff is proceeding in this matter pro se.           A “document

filed pro se is ‘to be liberally construed,’ and ‘a pro se

complaint, however inartfully pleaded, must be held to less

stringent standards than formal pleadings drafted by lawyers.’”

Erickson v. Pardus, 551 U.S. 89, 94 (2007) (quoting Estelle v.

Gamble, 429 U.S. 97, 106 (1976)).

                              III. Analysis

            A. Defendants’ Affidavits and Exhibits

            Before reaching the merits of Defendants’ Motion, the

Court must first determine what evidence it may properly

consider.    Defendants’ Motion is accompanied by six affidavits

from Loudoun County employees who purport to be the

administrators of the County’s Facebook page.          Defendants have

also submitted ten exhibits in connection with their motion.

Some of these are duplicative of exhibits attached to

Plaintiff’s Complaint.      Others, however, are materials —

communications and images of the County’s Facebook page — that

were clearly not available to Plaintiff when he filed suit,

either because Plaintiff had no prior opportunity to view them,

or because they postdate the filing of Plaintiff’s Complaint.



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            As stated above, courts generally may not look beyond

the well-plead allegations of fact set forth in the complaint

when evaluating a Rule 12(b)(6) motion.         See Goldfarb, 791 F.3d

at 508.   Defendants contend that two exceptions to this rule

permit the Court to consider the extraneous materials submitted

with their Motion.

            First, Defendants argue that the Court may consider

the exhibits and affidavits submitted with their Motion to the

extent that these materials are referenced in Plaintiff’s

Complaint.    See Mem. in Supp. of Mot. to Dismiss [Dkt. 4] at 9.

But while it is true that courts evaluating a Rule 12(b)(6)

motion may consider documents explicitly or necessarily

incorporated by reference into a plaintiff’s complaint, see,

e.g., Norfolk Fed’n of Bus. Districts, 932 F. Supp. at 736, that

is of little help to Defendants in this instance.           Many of the

documents submitted with Defendants’ Motion — for example, the

affidavits from County employees and Defendants’ communications

with third parties — are plainly not referenced in Plaintiff’s

complaint at all.

            Moreover, Defendants’ exhibits depicting portions of

the County’s Facebook page beyond those expressly relied upon by

Plaintiff are not incorporated by reference into Plaintiff’s

Complaint.    The Fourth Circuit has admonished that the

circumstances under which “a court may rely on extrinsic

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materials to determine a motion to dismiss” are “narrow.”

Goldfarb, 791 F.3d at 508.       Courts generally may not consider

extraneous materials, even when explicitly referenced or quoted

in a complaint, unless the plaintiff’s claims “turn on” or are

“otherwise based on” them. Goines v. Valley Cmty. Servs. Bd.,

822 F.3d 159, 166 (4th Cir. 2016).        To hold that Plaintiff’s

Complaint incorporates portions of the County’s Facebook page

beyond those upon which his claims are based would overstep the

bounds of this narrow exception.

            Indeed, many of Defendants’ exhibits depict portions

of the County’s Facebook page that would not have been available

to Plaintiff when he filed suit, either because they were not

publicly available, or because they were posted after Plaintiff

filed suit.    Far from relying upon those portions of the website

when filing suit, Plaintiff could not have been aware of them.

This “lack of notice to the plaintiff” undermines the “rationale

underlying th[e] exception” Defendants invoke. Am. Chiropractic

Ass’n v. Trigon Healthcare, Inc., 367 F.3d 212, 234 (4th Cir.

2004) (quoting In re Burlington Coat Factory Securities

Litigation, 114 F.3d 1410, 1426 (3d Cir.1997).

            To the extent that the materials submitted with

Defendants’ Motion are in fact referenced in Plaintiff’s

Complaint, they are duplicative of exhibits already appended to

the Complaint.     As such, they are of little aid to the Court.

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In light of the above, the Court declines to consider

Defendants’ exhibits and affidavits as incorporated by reference

into Plaintiff’s Complaint.

            Defendants argue further that the Court may consider

the content of their exhibits and affidavits as “‘capable of

accurate and ready determination by resort to sources whose

accuracy cannot reasonably be questioned, and thus properly

subject to judicial notice under Fed. R. Evid. 201.’”             Mem. in

Supp. of Mot. to Dismiss [Dkt. 4] at 9 (quoting Katyle v. Penn

Nat. Gaming, Inc., 637 F.3d 462, 466 (4th Cir. 2011)).            It does

not appear, however, that Defendants’ submissions are proper

subjects of judicial notice.

            Courts may take judicial notice of “matters of public

record.”    Philips v. Pitt Cty. Mem’l Hosp., 572 F.3d 176, 180

(4th Cir. 2009); see also Goldfarb, 791 F.3d at 508.

Defendants’ affidavits, emails, and screenshots of the County’s

Facebook page are not matters of public record.           Among

Defendants’ submissions, only Loudoun County’s Social Media

Comments Policy arguably merits judicial notice.           See Mem. in

Supp. of Mot. to Dismiss Exh. 3 [Dkt. 4-9].          But this is already

an exhibit appended to Plaintiff’s Complaint.           See Compl. Exh.

11 [Dkt. 1-11].     Accordingly, the Court declines to take

judicial notice of the affidavits and exhibits appended to

Defendants’ Motion.      Cf. Waugh Chapel S., LLC v. United Food &

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Commercial Workers Union Local 27, 728 F.3d 354, 360 (4th Cir.

2013) (“judicial notice” should not “be used as an expedient for

courts to consider matters beyond the pleadings and thereby

upset the procedural rights of litigants to present evidence on

disputed matters”).

            Finally, Defendants argue that if the Court is unable

to consider their affidavits and exhibits under Rule 12(b)(6),

the Court should convert their filing to a motion for summary

judgment pursuant to Rule 12(d).          The Fourth Circuit, however,

has admonished that “[s]uch conversion is not appropriate where

the parties have not had an opportunity for reasonable

discovery.”     E.I. du Pont de Nemours & Co., 637 F.3d at 448.

Discovery in this matter has not yet commenced, and Plaintiff

rightly notes in his Opposition that he has not had an

opportunity to test the claims Defendants support by reference

to their affidavits and exhibits.          As such, the Court must

decline to consider Defendants’ Motion under Rule 12(d).3




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          The Court notes that even were it to convert
Defendants’ Motion pursuant to Rule 12(d), the Court would still
find that there exist material issues of fact precluding the
entry of summary judgment in Defendants’ favor. Relying on
their affidavits and exhibits, Defendants claim that County
employees who have access to the Loudoun County Facebook page
did not delete or hide Plaintiff’s comments, and that a
technical issue may be at fault. See Affs. [Dkts. 4-1, 4-2, 4-
3, 4-4, 4-5, 4-6]. This resolves neither what actually happened
to the comments, nor what role, if any, Defendants played.
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            B. Defendants’ Arguments

            Having determined that the Court may not properly

consider the affidavits and exhibits submitted with Defendants’

Motion, the Court now turns to the portions of the Motion that

do not rely upon extrinsic evidence.          The Court notes, however,

that two issues raised in Defendants’ original Motion no longer

require the Court’s attention.

            First, Plaintiff represents in his Opposition that he

has “decided to abandon Rogers as a Defendant and simply not

serve him.”     Opp. [Dkt. 6] at 8.       In light of Plaintiff’s stated

intent to abandon his claims against Defendant Rogers, the Court

will grant Defendants’ Motion with respect to all claims

asserted against that Defendant.

            Second, Defendants’ Reply Brief suggests that they no

longer intend to press their qualified immunity defense.

Whether or not they intend to do so, however, that defense is

clearly inapplicable.      Plaintiff has sued Defendants in their

official capacities.      The defense of qualified immunity “is not

available in an official-capacity suit brought against a

government entity or a government officer as that entity’s

agent.”    Ridpath v. Bd. of Governors Marshall Univ., 447 F.3d

292, 306 (4th Cir. 2006).




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                  1. Municipal Liability

            As to the issues that remain, Defendants’ most

substantial argument is that neither the Board, nor its

individual members, are proper defendants to this action.             In

particular, Defendants argue that Plaintiff is attempting to

hold Defendants liable under a theory of respondeat superior — a

form of liability that the Supreme Court has rejected in the

context of section 1983 litigation.          Monell v. Dep’t of Soc.

Servs. of City of New York, 436 U.S. 658, 691 (1978).

            Plaintiff alleges that Defendants “either personally

made the decision to undertake the acts against [Plaintiff] or,

when made aware of those acts as head of the office, personally

adopted and ratified those acts by refusing to remediate the

constitutional violation.”       Id. ¶ 35.    Plaintiff has since

clarified that he does not “allege[ ] that any individual board

member deleted [his] comments,” but rather that the Board as a

whole is responsible for the actions of whoever did.            Opp. [Dkt.

6] at 9.

            Based on Plaintiff’s representations, the Court agrees

that the individual Board members are not appropriate defendants

to this action.     Only those with final decision making authority

can be liable under a theory of municipal liability.            See Ashby

v. Isle of Wight Cty. Sch. Bd., 354 F. Supp. 2d 616, 625 (E.D.

Va. 2004).    Plaintiff alleges that the Board ratified the

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decision of a subordinate.       It does not appear that individual

Board members are authorized to take such action on behalf of

the Board as a whole.      See Va. Code § 15.2-400, et seq.

Accordingly, the Court will dismiss Plaintiff’s claims against

Defendants Randall, Buffington, Meyer, and Higgins.

            Whether the Board itself is a proper defendant is a

close question.     The issues to be resolved, however, are issues

of fact rather than of law, and so are properly addressed after

some discovery has taken place.

            Defendants acknowledge that the Board is municipal

body subject to suit under section 1983.          See Mem. in Supp. of

Mot. to Dismiss [Dkt. 4] at 16; Monell, 436 U.S. at 690.

Moreover, the Board is the ultimate decision making authority

with respect to County policy, to which County employees are

generally answerable.      See Va. Code §§ 15.2-403(A); 15.2-404(A).

            A municipal body such as the Board may be responsible

for the actions of a subordinate if it ratifies them.            See City

of St. Louis v. Praprotnik, 485 U.S. 112, 127 (1988) (“If the

authorized policymakers approve a subordinate’s decision and the

basis for it, their ratification would be chargeable to the

municipality because their decision is final.”); see also Hall

v. Marion Sch. Dist. No. 2, 31 F.3d 183, 196 (4th Cir. 1994);

Ashby, 354 F. Supp. 2d at 627.        To show ratification, Plaintiff

must demonstrate that the Board was aware of its subordinate’s

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action and affirmatively approved both the act and its

rationale.    See Ashby, 354 F. Supp. 2d at 627.         Whether

ratification has taken place is an issue of fact.           See, e.g.,

Christie v. Iopa, 176 F.3d 1231, 1238–39 (9th Cir. 1999)

(“Ordinarily, ratification is a question for the jury.”).

            Viewing the allegations of the Complaint in the light

most favorable to Plaintiff, and taking into account the relaxed

pleading standard for pro se litigants, See Estelle, 429 U.S. at

106, Plaintiff has plausibly alleged that the Board ratified the

actions of its subordinate.       Plaintiff asserts that his comments

were deleted by a County employee with access to the County’s

Facebook page.     See Compl. [Dkt. 1] ¶¶ 15, 31, 35.        Plaintiff

further alleges that the Board knew of the actions of its

subordinate as a result of Plaintiff’s emails to the board.              See

Compl. [Dkt. 1] ¶¶ 22-26.       Moreover, Plaintiff alleges that his

comments were removed specifically because they were critical of

the Board, and that at least one member of the Board has

previously dealt with critical comments in a similar manner.

See id. ¶¶ 14, 31, 33.4      While it remains to be seen whether

Plaintiff can prove that the Board did indeed ratify a

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          The Court notes that mere acquiescence is not
sufficient to demonstrate ratification. See Ashby, 354 F. Supp.
2d at 627. Accordingly, reading Plaintiff’s Complaint in the
light most favorable to Plaintiff, the Court construes
Plaintiff’s allegation that the Board “refus[ed] to remediate
the constitutional violation,” see Compl. [Dkt. 1] ¶ 35, as
involving some affirmative act of approval.
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subordinate’s decision to remove his comments, it would be

improper to deprive Plaintiff of the opportunity to make that

showing at this stage in the proceedings.

                  2. Plaintiff’s First Amendment Claim

            Moving on to Plaintiff’s claim under the First

Amendment, the Court finds that the claim should be permitted to

proceed against the Board.

            Defendants concede that in adopting a Social Media

Comments Policy, see Compl. Exh. 11 [Dkt. 1-11], the County

designated its Facebook page a limited public forum.            See Mem.

in Supp. of Mot. to Dismiss [Dkt. 4] at 13-14; see also

Rosenberger v. Rector & Visitors of Univ. of Virginia, 515 U.S.

819, 830 (1995) (a state policy facilitating speech creates a

“metaphysical” forum).       Once opened, the public may utilize a

limited public forum to the extent consistent with the

restrictions placed upon it by the state.          See id. at 829; see

also Perry Educ. Ass’n v. Perry Local Educators’ Ass’n, 460 U.S.

37, 71 n.7 (1983) (a limited public forum is “created for a

limited purpose such as use by certain groups . . . or for the

discussion of certain subjects.”).         Plaintiff’s right to comment

on the County’s Facebook page was therefore bounded by the terms

of the County’s Social Media Comments Policy.

            The Policy states that “the purpose of Loudoun County

social media sites is to present matters of public interest in

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Loudoun County,” and provides that visitors are “encourage[d] to

submit questions, comments and concerns.”          See Compl. Exh. 11

[Dkt. 1-11].     The Policy states further that “the county

reserves the right to delete submissions” that violate

enumerated rules, such as comments that include “vulgar

language” or “spam.”      Id.

            Defendants do not allege that Plaintiff’s comments

violated any particular rule.        Rather, Defendants appear to

argue that because the County reserved the right to moderate

comments, the removal of Plaintiff’s comments did not implicate

the First Amendment.      See Mem. in Supp. of Mot. to Dismiss [Dkt.

4] at 14, 16.

            That is not so. “Once it has opened a limited forum

. . . the State must respect the lawful boundaries it has itself

set.”    Rosenberger, 515 U.S. at 829.       This rule applies as much

to Defendants’ Facebook page as to any other limited public

forum.    See Bland v. Roberts, 730 F.3d 368, 386 (4th Cir. 2013),

as amended (Sept. 23, 2013) (noting that speech on Facebook is

subject to the same First Amendment protections as speech in any

other context).

            Defendants’ Policy “encourage[s]” visitors to the

County’s Facebook page “to submit questions, comments and

concerns” regarding “matters of public interest in Loudoun

County,” and provides that only comments violating certain

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enumerated rules will be removed.         Compl. Exh. 11 [Dkt. 1-11].

Therefore, unless Plaintiff’s comments pertained to other than

“matters of public interest in Loudoun County” or violated an

enumerated rule, Plaintiff was entitled to post them on the

County’s Facebook page.       Plaintiff alleges that notwithstanding

this policy, a County employee deleted his comments because they

were critical of the Board, and alleges further that the Board

ratified that act.      See Compl. [Dkt. 1] ¶ 31.       The County’s

Social Media Comments Policy does not permit the removal of

comments on that basis. See Compl. Exh. 11 [Dkt. 1-11].

            Defendants therefore fail to square their alleged

actions with “the lawful boundaries [the County] has itself set”

with respect to its Facebook page.         Rosenberger, 515 U.S. at

829.   Having adopted the Social Media Comments Policy, the

County government is bound to abide by its terms.           Plaintiff has

plausibly alleged that the Board failed to do so.           The Court

will therefore permit Plaintiff’s First Amendment claim to

proceed against the Board.5




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          Defendants also argue at considerable length that
Defendant Randall did not violate Plaintiff’s First Amendment
rights by deleting comments Plaintiff made on her own Facebook
page. See Mem. in Supp. of Mot. to Dismiss [Dkt. 4] at 14-16.
But that incident, while mentioned in passing in Plaintiff’s
Complaint, is neither the subject of this suit, nor particularly
relevant to the instant Motion.
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                  3. Plaintiff’s Due Process Claim

            The Court likewise finds that Plaintiff’s Due Process

claim should be permitted to proceed against the Board.

            Plaintiff alleges that Defendants violated the Due

Process clause of the Fourteenth Amendment by abridging

Plaintiff’s freedom of speech without notice or a chance to be

heard.    See Compl. [Dkt. 1] ¶¶ 43-45.       Defendants move to

dismiss this claim, arguing — in a brief and conclusory

paragraph — that no such right exists under the Due Process

clause.    See Mem. in Supp. of Mot. to Dismiss [Dkt. 4] at 14

(Plaintiff does not have “a separate, independent due process

claim based on anyone’s failure to give him notice and an

opportunity to be heard before his free speech rights were

allegedly violated.”)(emphasis in original).

            The Due Process clause does, however, embrace such a

right.    “When a State would directly impinge upon interests in

free speech or free press, [the Supreme] Court has on occasion

held that opportunity for a fair adversary hearing must precede

the action, whether or not the speech or press interest is

clearly protected under substantive First Amendment standards.”

Bd. of Regents of State Colleges v. Roth, 408 U.S. 564, 590 n.14

(1972); see also Roth v. Farmingdale Pub. Sch. Dist., No. 14-CV-

6668, 2016 WL 767986, at *11 (E.D.N.Y. Feb. 26, 2016) (“[T]o the

extent that plaintiff alleges that the defendant denied him of

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[sic] due process by depriving him of his First Amendment rights

without sufficient process . . . such a claim can survive the

defendant’s motion to dismiss.”); Cyr v. Addison Rutland

Supervisory Union, 955 F. Supp. 2d 290, 295-96 (D. Vt. 2013)

(declining to dismiss a procedural due process claim

“assert[ing] the [defendant], by issuing [a] notice against

trespass, deprived [the plaintiff] of First Amendment rights

without sufficient process”); Rubin v. Ikenberry, 933 F. Supp.

1425, 1437 (C.D. Ill. 1996) (“liberty interests [in free speech]

require a fair adversary hearing”).

            While Defendants may argue that the particular

circumstances of this case did not warrant additional process,

Defendants have not made such an argument.          The Court declines

to supply it for them.       Because the argument Defendants have put

forward is contrary to law, the Court will deny Defendants’

Motion with respect to Plaintiff’s Due Process claim.

                  4. Plaintiff’s Equal Protection Claim

            The Court agrees with Defendants, however, that

Plaintiff has failed to state a claim under the Fourteenth

Amendment’s Equal Protection clause.         In support of this claim,

Plaintiff alleges only that Defendants deleted his comments — at

least some of which complied with the County’s Social Media

Comments Policy — while permitting certain noncompliant comments



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to remain on the County’s Facebook page.          See Compl. [Dkt. 1]

¶¶ 43-45.

            As an initial matter, the Court notes that Plaintiff’s

claim is plead in the conditional.         Plaintiff takes the position

that Defendants will violate the Equal Protection clause only

“[i]f Defendants claim [Plaintiff’s] comments were removed

because” some included links.        See Compl. [Dkt. 1] ¶ 45; Opp

[Dkt. 6] at 14.     Plaintiff’s equal protection claim is less a

claim for relief than a counterargument.

            Regardless, “[t]o succeed on an equal protection

claim, a plaintiff must first demonstrate that he has been

treated differently from others with whom he is similarly

situated.”    Morrison v. Garraghty, 239 F.3d 648, 654 (4th Cir.

2001).    As Defendants note, Plaintiff’s allegations do not tend

to show that he and other commenters were “in all relevant

respects alike.”     Nordlinger v. Hahn, 505 U.S. 1, 10 (1992).

Indeed, Plaintiff highlights only differences between himself

and the other commenters.       Plaintiff’s allegations are therefore

legally insufficient to state an equal protection claim.            In

light of the above, the Court will dismiss Plaintiff’s claim

under the Fourteenth Amendment’s Equal Protection clause.




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                  5. Plaintiff’s Virginia Freedom of Information
                     Act Claim

            Finally, Defendants contend that Plaintiff’s claim

under the Virginia Freedom of Information Act must be dismissed

because the Act provides for enforcement only through an action

brought in “[Virginia] general district court or circuit court.”

Va. Code § 2.2-3713.      The Court notes that another federal court

in Virginia has embraced this construction of the statute.             See

Elder v. City of Danville, VA, No. 4:13-CV-00047, 2013 WL

6524651, at *4 (W.D. Va. Dec. 12, 2013); Rutledge v. Town of

Chatham, No. 4:10-cv-00035, 2010 WL 3835662, at *3 (W.D. Va.

Sept. 30, 2010), aff’d sub nom. Rutledge v. Roach, 414 F. App’x

568 (4th Cir. 2011).

            Be that as it may, the Court is not convinced that

this provision confers exclusive jurisdiction on Virginia

courts.    Federal courts in Virginia regularly entertain pendant

state law claims under at least one other statute that employs

virtually identical language.        See Va. Code § 2.2-3903 (Virginia

Human Rights Act (VHRA) permits aggrieved employees to “bring an

action in a general district or circuit court”); Rose-Stanley v.

Virginia, No. 2:15-cv-00007, 2015 WL 6756910, at *4 (W.D. Va.

Nov. 5, 2015) (entertaining a VHRA claim); Morgan v. Rowe

Materials, LLC, No. CIV.A. 3:08CV576, 2009 WL 1321514, at *4

(E.D. Va. May 11, 2009) (same).        Indeed, it would be unusual for


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a state statute to explicitly confer jurisdiction on federal

courts.    No such grant of jurisdiction is generally required for

a federal court to entertain a pendant state law claim.

            The Court need not reach the issue, however, because

it is clear that Plaintiff’s claim must be dismissed on

sovereign immunity grounds.       Eleventh Amendment sovereign

immunity is jurisdictional in nature.         Pennhurst State Sch. &

Hosp. v. Halderman, 465 U.S. 89, 100 (1984).          The Fourth Circuit

has held that “because of its jurisdictional nature, a court

ought to consider the issue of Eleventh Amendment immunity at

any time, even sua sponte.” McCray v. Maryland Dep’t of Transp.,

Maryland Transit Admin., 741 F.3d 480, 483 (4th Cir. 2014)

(quoting Suarez Corp. Indus. v. McGraw, 125 F.3d 222, 227 (4th

Cir.1997)).     Although Defendants do not raise the issue, the

Court finds it appropriate to do so of its own accord.

            Sovereign immunity bars federal courts from

entertaining claims arising under state law and brought against

state officials.     See Pennhurst, 465 U.S. at 106.        That bar

extends to claims brought under the Virginia Freedom of

Information Act.     See Parkridge 6, LLC v. U.S. Dep’t of Transp.,

420 F. App’x 265, 268 (4th Cir. 2011).         As such, the Court must

dismiss Plaintiff’s Virginia Freedom of Information Act claim.




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                              IV. Conclusion

            For the foregoing reasons, the Court will grant

Defendants’ Motion in part.       Counts III and IV of Plaintiff’s

Complaint will be dismissed with prejudice.          Counts I and II

will be dismissed as to Defendants Rogers, Randall, Buffington,

Meyer, and Higgins.      The Motion is denied to the extent that

Plaintiff may continue to pursue Counts I and II against

Defendant Board of Supervisors of Loudoun County.

            An appropriate order shall issue.




                                                /s/
September 14, 2016                        James C. Cacheris
Alexandria, Virginia              UNITED STATES DISTRICT COURT JUDGE




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